
George Andrews, Judge:
I concur in the views above expressed, with this qualification: that where a private way has been for a long time bounded and limited by fences or other structures, obviously 'intended and considered as boundaries and limitations of the way; and such boundaries include no more than is appropriated for a way, and may reasonably be supposed to have been within the intention of the parties to grant, for the purposes of a way; in such case, if the right of way passes to a *113grantee of the premises, as in this ease, in virtue of his deed, and of the presumed intention of the parties, I think the grantor of the way, must be held to have granted it in the same condition, and to the same extent as to boundaries, as it had previously been used, even if these boundaries should include more land than is essential to a convenient exercise of the right of passage.
